Case 2:05-cv-01026-CSC Document102-6 Filed 02/23/2007 Page 1 0f4

EXhibit 24 '

Case 2:05-cv-01026-CSC Document 102-6 Filed 02/23/2007 Page 2Pog4 1 Of3

Thomas F. Gristina

 

From: James N. Walter, Jr. [JNW@CHLAW.com]

Sent: Wednesday, January 10, 2007 3:42 PM
To: Thomas F. Gristina
Cc: Laurie, Robin; Knightl Lane; Bill Tucker; Bai|ey, Dennis
Subject: Harry Lambert 2005 Nlatter: RE: A|abama Gravel Document Production
'l¥
Thomas:

As you know, we have delivered copies of Alabama Gravel, LLC’s 2006 sales invoices to Robin Laurie.

With respect to the meeting dates you asked aboutl Robert A|exander believes that he met Harry Lambert and
Rex Dasinger in Gadsden during the first week of January 2005. He does not have a specific date for that
meeting. `

Robert believes that he met Dave Tuten at the motel oft |-65 about 2 to 3 weeks later.

Finally, Robert believes that the meeting that Robert, Dave and Rex had at Carol Lambert’s property was on
March 25, 2005. '

Thanks,
Jimmy

James N. Walter, Jr.

Capcll & Howard, P.C.

150 South Perry Street (36104)
Post Oft`lce Box 2069 (36102-2069)
Montgomery, Alabama

Direct Phone: (334) 241-8046
Direct Facsirnile: (334) 241-8246

E-mail: jnw@chlaw.com

Confidentiality Notice.' This electronic communication is from a law firm and may be protected either by the
attorney-client privilege, as attorney work-product or by virtue of other privileges or provisions of law. If you are
not an intended recipient please immediately notify the sender by reply e-mail or by telephone at (334) 241-8046,

7/17/')007

Case 2:05-cv-01026-CSC Document 102-6 Filed 02/23/2007 Page 3Bdgt: 2 0f3

and delete this from your computer. [n addition, an unintended recipient should not print, copy, retransmit,
disseminate, or otherwise use any information contained in this communication T hank you.

----- Original Message-----

From: Thomas F. Gristina [mailto:TFG@psstf.com]
Sent: Friday,' December 15, 2006 9:35 AM

To: James N. Walter, Jr.

Cc: Laurie, Robin; Knight, Lane; Bill Tucker
Subject: Alabama Gravel Document Production

Jimmy:

Thanks for speaking with me this morning concerning Alabama Gravel's objections to the subpoena TCC
recently served. You asked me for a letter setting forth our position so l wanted to follow-up on that in the
hopes that we can resolve the matter.

At present, it appears that the only documents we are fighting over are Alabama Gravel invoices for sales
after January 2, 2006. We believe those documents are relevant to damages in that the sales are the
result of Lambert's and CCl's improper actions before Lambert's covenant expired. So long as the sales
can be reasonably linked to actions before the covenant expired they are relevant As we have argued in
earlier filings, this notion of damages is not unlike a continuing tort where the damages continue to
accrue. We do not believe these damages are speculative given the narrow market for white oversize.

We believe that the evidence shows that Lambert and CCl Were critical to all sales from the Gentry Pit
and now those from Deatsville. We also believe that these sales all stem from actions taken by Lambert
and CCl in 2005. Were it not for these actions, the Gentry Pit certainly would not have sold to Simicala
and others in 2005 and 2006. Similarly, Deatsvil|e would likely not have opened and would not be ln
business by now

We realize that Lambert and CCl contest these issues. At a minimum, however, it is relevant to a jury
question on damages. ,

We also think the invoices relate to liability. They confirm improper action before the non-compete
expired.

Please let me know your thoughts on these points.

ln the meantime, we understand that you are going to produce documents you do not object to in the near
future. These documents may assist in resolving the above. Respectfu|ly, we also reserve the right to
seek further reasonable discovery based on the documents produced.

On a remaining point, during Alexander's deposition, he mentioned the ability to confirm various dates.
Specitically, he said he could confirm the timing of the Gasden trip and the meeting between him,
Lambert and Tuten in Montgomery. We would appreciate documents confirming these dates. l have
attached a few pages from his deposition that relate to the dates and my request for conf rmation We
would also appreciate confirmation of the date of the meeting between Tuten, Dasinger, Lambert and
A|exander at the Lambert property in Deatsville.

We are not seeking Alexander's personal information - only confirmation of the above business matter.

Thanks. l look fon/vard to speaking'with you about this further.

Thomas Gristina

Page, Scrantom, Sprouse, Tucker, & Ford, P.C.
Synovus Centre

1111 Bay Avenue, Third F|oor

2/l 7/2007

Case 2:05-cv-01026-CSC Document 102-6 Filed 02/23/2007 Page 4p£gle 3 Of3

Columbus, GA 31901
Email: tfg@psstf.com
Direct Dia|: (706) 243-5616
Fax: (706) 596-9992

CIRCULAR 230 D|SCLOSURE: To comply with Treasury Department regulations, we inform you that,
unless otherwise expressly indicated, any tax advice contained in this communication (including any
attachments) is not intended or written to be used, and cannot be used, for the purpose of (i) avoiding
penalties that may be imposed under the lnternal Revenue Code or any other applicable tax law, or (ii)
promoting, marketing or recommending to another party any transaction, arrangement or other matter.

The information contained in this electronic mail message is attorney privileged and confidential
information intended only for the use of the individual or entity named. lf the reader of the message is not
the intended recipient, you are hereby notified that any dissemination, distribution or copying of the
communication is strictly prohibited. If you have received this communication in error, please immediately
notify us by telephone at (706) 324-0251 or reply email and delete this message

')/1'7/’)(\(\'7

